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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

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Corydon Carlton, Plaintiff's CASE N®#. /é? <~VW lbgjé) CL]
coMPLAINT, civii RIGHTS AcTioN

_against_ PURSUANT To (42 U,s,ccssc, 1983)

C.Os Pearson, in his individual TRIAL BY JURY

oapaoity. Prison Guard and Employee '”““~Mz&
S'YN'ES D|STA,»§»

FMED

    

at Wende Correotional Facilty6 P.Oa
Box~1187 (3622 Wende Road) Alden,
New Y~ork5 14004-1187

Defendant.

      

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DlSTR\CT

      

 

Plaintiff's in the above Caption Action Allege’s as follows:
and Plaintiff Carlton, demand a Trial by jury,
JURISDICTION

This is A Civil Rights Action Seeking Relief, damage@s and to
Defend, Proteot, and are Quaranteed Rights of the State of New York.
fn the United States, this action is brought Pursuant to the Civil
Rights Acts. (Section 42 U¢S@Ca 1983) and this Court has Jurisdiction
over this action/matter PuEsuant to Section 28 U.S,Co 1331, 1343(3)
and (4) and 2201, in the County of Buffalo, New York» 14202~3328.

PARTIES
1). Plaintiff Corydon Carlton, was at Wende Correotional Facilityg
P,O. Box~1187, (3622 Wende Road) Alden, N@Y, 14004~1187»

2)8 A. Defendant: C@Oo Pearson, Prison Guard and Employee at the
Wende Correctional Faci'lityo P¢O. Box-1187. (3622 Wende Road)
Alden, New York. 14004-1187.

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PAGE TWO

BRIEF STATEMENT OF FACTS

3). On March ll, 2014, located at Wende Correctional Facility. At
Approximately 7:00 P.M. Plaintiff}s was housed in the Mental Health
Program Call: l.l.C.P. Program Unit-Call- Number (MHU-C-S,) The Defen-
dant: C¢O./Pearson, opened cell doors for Commissary, and also inmate
(Goring~OZ-A-ZZ 2) to enter Rlaintiff's cell location and attack, assault
and beat, and injured the said Plaintiff Corydon Carlton,

4)@ Plaintiff’s step out his cell location on to gallery briefly,
to see why his cell door had open, and were told Commissary. 80 Plaintiff
Carlton, had informed the Officer in the Bobble that he needed toggethhis
net-bag for commissary. And when, out of nowhere a inmate in Q~cell.
Violently shoved Plaintiffls into his cell and assaulted plaintifi's
with repeated punches to his face, and once Plaintifffs knoucked out on
unconcious 10 ar more second, became concious and aware what had happen,
and saw inmate (Goring-OZ-A-ZZ§Z, from 9-cell) standing over Plaintiff's,
begin yelling, (you white mother~fucking~cracker) you got this ass~kicking
coming to you!» You mother-fucker.

5). Plaintiffls try to yelling-out-loudé for assistance and help,
which was in possible and useless, and over comed with more repeated
punches to the face and body, as the cell door closed, traping Plaint~
iff's in his cell, he couldn't move, while inmate (Goring~OZ~A~ZZSZ)
from Q~cell, continue to beat Plaintiff Corydon Carlton, for about 30 or
35re minutes, without any help. And as a result of this incident, was

bleeding profoundly from his brokerinose and left eye, and injuries.

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PAGE THREE

6), Plaintifffs try hard warding his attacker, and became powerless
over the punches to his face and injuries to his nose and left eye, be
fore C.O. Pearson, return from Commissary with the rest of the company.
Officer Pearson, realized someone was yelling for help. Out of cell»S,
and C.O. Pearson, saw inmate (Goring-OZ~A~ZZ§Z, from cell~@) assaulting
and beating the Plaintiff Corydon Carlton, to daeth, before telling this
inmate, are you done»

7>0 §§ai§£;£§§§ia@@ri@@én,aha told the inmate (Goring»Oz~A~zz.z)
to come out, and lock in histceill~thed Piamntnafmalwatut@utebtéedingg
profoundly and badly from his face and nose. Officer Pearson, told
the Plaintifffs to go the Facility Clincle with a pass and without being
escorted by staff employees,

~ 8)a The staff nurse on duly asked Plaintiff's whatfs had happen,
Plaintiff Carlton, begin to explain, and said that he was assaulted,
beatten and injured by inmate (Goring-OZ-A-ZZ§Z) with repeated punches
to face and body, while he was trap and lock his cell location (MHU-C-S)
for 30 minutes, without any help and assistance from Officer Pearson.
And due to Plaintiff's serious injuries, the staff nurse on duty deemed
it necessary for Plaintiffds to see Doctor in Erie County Medical Center.
Plaintiff Corydon Carlton, left eye and nose was bleeding profoundly
due his injuries, and assault by inmate (Goring-OZ¢A~ZZ§Z) and the de~
fendant; C.Os Pearson, a prison guard and Employee at the Wende Correc~
tional Facility. And Defendant: C,O. Pearson, did nothing to prevent.
this from happening to Plaintifffs, which clearly shows this was done
intentionalyy, to cause Plaintiff Carlton, serious harm, pain and Suf_

fering and injuries to Plaintiff's left eye and nose, and other injury

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PAGE FOUR

9). The defendant: CBO. Pearson, Prison Guard Acted under "color
of law", and violated United States Constitutional Rights, Deliberate
lndiffence and Plaintiff's should be free from assaults and injuries
coming from other inmates, and Cruel and Unsual Punishment. ln viola~
tion of the Eighth Amendment. U.S. Consta

A, directly participating in the wrong; and knowing
about the wrong and doing nothing to preventing this
from happening or to fix it, when it is a duty to do

§0; failing to oversee the people who is causing the

wrong, such as not reporting the incidents
B. and or liring about the incident and help creating a
'policy or custom that allow the wrong doing and to happen-
ing it to exist.
lO), The defendant: C.Ov Pearson, reckless dis-regards fan the
Plaintiff to be Free from other assaults, attacks, beatten and injuries
from other inmates and by the hands of inmate (Goring~OZ~A-ZZSZ) who
lock in (MHU-C-Q), and the defendant: C.Oc Pearson, deliberate indif-

ference and negligence as well as for his action.

AND AS FOR A FIRST CAUSE OF ACTION: plaintiff's RE~ALLEGED
FROM ONE THROUGH TEN AS FOLLOWS§

11), That the defendant: C.O. Pearson, who is a Prison Guard and
a Employee at Wende Correctional Facility. On March ll, 2014, should
had known that a routine of Extraordinary incident of violence by in-
mate (Goring*OZ-A-ZZSZ) who is in (MHU-C-Q) has been frequent the pre-

mises at Wende Correctional Facility.

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PAGE FIVE

12), That at all times herein mentioned one inmate (Goring-O2-A~
2252) who is in MHU~C-Q, was an inmate upon the said premises at Wende
Correctional Facility. Doing 25 years to life, in prison.

13). That at all times herein mentioned, it was the duty of the
said defendant: C»O. Pearson, their servants, agents and/or Employees to
prevent said routine of Extraordinary violence by inmates upon the pre»
mises at Wende Correctional Facility,

14)o That on March ll, 2014, and for a period of time prior thereto,
the Plaintiff's was an inmate at Wende Correctional Facility. And the
Plaintiff Corydon Carlton, was lawfully present upon the premises of
Wende Correctional Facility. On March ll, 2014, and the Plaintiff's was
caused to be injured while being present upon the premises at Wende Cor~
rectional Facility» Plaintifffs was caused to be attacked by inmate
(Goring~O2*A~22 2) who was in MHU-C»Q), who assaulted, beaten and injured
Plaintiff Carlton, upon the said premises at Wende Correctional Facility.

15)o The Plaintiff's was subjusted to Physical lnjuries, Attacked,
Assaulted, Beaten by inmate (Goring-O2~A-2252) with diliberate indif~
ference to the Plaintiff's by the said defendant: C,Oo Pearson, their
servants, agents and Employees at the Wende Correctional Facility. And
the defendants failed to provide for the safety, security and protection
of the Plaintiff's, an inmates at Wende Correctional Facility.

16), The defendant: C.O. Pearson, failed to prevent the incidents
of Extraordinary violence by inmates who are upon the premises known at
Wende Correctional Facility. on March ll, 2014, the Plaintiff's was caused
to be injured as a result of the carelessness, gross negligence, lack of

Supervision, excessive, unnecessary and unreasonable use of force and

wanton and willful disregard, diliberate indifference and failure to pro-

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tect on the part of the defendant: C,O. Pearson, who is Prison Guard
and Employeed. At Wende Correctional Facility. P.O. Box~1187. (3622
Wende Road) Alden, New York@ 14004-1187.

17). That by reason of all of the foregoing, the Plaintiff's was m
injured. That occurrence and the resulting injuries to the Plaintiff
Corydon Carlton, were caused solely by reason of the carelessness, cause
or provocation on the part of the defendant: C.O. Pearson, contributing
thereto.

18). That by reason of the foregoing, this Plaintiff's was severely
injured and damaged, rendered sick, sore, lame and disabled, sustained
severe neruous shock and mental anguish, physical pain and emotional up-
set and suffered, some of his injuries are permanent in nature and dura-
tion, and Plaintif&ls will be permanently caused to suffer pain, incon-
venience and other effects of such injuries; Plaintiff's incurred and
in the future will necessarily incur further hospital and medical ex~
penses in an effort to be cured of said injuries and Plaintiff Corydon
Carlton, will sue the defendant; C.O. Pearson, in his individual capacity
under (color of law) for the injuries to his left eye and broker nose,
and cruel and unsual punishment, And Violation of eighth Amendment. U,S.
Const. ln the amount of Five Million Dollars, Compensatory Damages, to
Compensate Plaintiff's for the serious injuries, pain, harm, suffering
and as will as for Punitive Damages in the amount of $lO0,000.00'Thou~
sand Dollars for the mental auguish he suffered by the hands of the de~
fendant: C.O. Pearson, and the above inmate (Goring~OZ-A~2252>, who had

assaulted, beaten and injured Plaintiff's0

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PAGE SEVEN

AS AND FOR A SECOND CAUSE GF ACTION: PLAINTIFFTS RE;ALLEGED

FROM ONE THROUGH TEN AS FOLLOWS:

19). That the Plaintiff's repeats, reiterates and realleges each
and every allegation as contained in the First Cause of Action of the
Complaint from 1 through 10, with the same force and effect as though
each were more fully set Forth at length herein.

20). That on March 11, 2014, the Plaintiff's was violently, wanton~
ly, brutaally, savagely, intentionally, maliciously, illegally, re~
peatedly and relentlessly attacked, assaulted, beaten, battered and
continued to be assaulted by the said inmate (Goring~O2~A-2252) who
was in (MHU-C~Q) while he was present in side the Plaintiff Corydon
Carlton, cell¢MHU-C~S) and on pnempge§aa at Wende Correctional Facility.
Without cause or provocation on the part of the Plaintiff's contributing
thereto6

21). That by reason of all of the foregoing, the Plaintiff's was
vinjured, for the foregoing occurrence, and the resulting injuries to the
Plaintiff's were caused solely by reason of the carelessness, gross neg~
ligence, lack of Supervision, security, protection, deliberate indif-
ference and culpable and wanton acts on the part of the defendant: C,O.
Pearson, and without any negligence, cause or provocation on the part

~of the Plaintiffds contributing thereto. And,

AS AND FOR A THIRD CAUSE OF ACTION: Plaintifffs RE~ALLEGED
FROM ONE THROUGH TEN AS FOLLOWS;
22 , That the Plaintiff's repeats, reiterates and realleges each

and every allegation as cotained in the First and Second Causes of Action

of the Complaint from 1 through ten, with the same force and effect as

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PAGE ElGHTH

though each were more fully Set Forth at length herein.

23). That this is action to redress the deprivation under "color
Of law", statute, ordinance, regulation, custom or usage of a right,
privilege and immunity secured to the Plaintiff's by the First, Eighth
and Fourteenth Amendment of the United States Constitutions of the State
of New York (42 U.S.C6 Sec. 1983) and arising under the law and statutes
of the State of New York6

24). That all of the foregoing acts and conduct on the part of the
defendant: C.O. Pearson, prp§éna guard and Employee at the Wende Cor»
rectional Facility, P.O. Box-1187. (3622 Wende Road) Alden, N.Y. 14004-
1187. And under the authority of their Office as Officer of the State
of New York.

25)g Plaintiff's has Exhausted all Administrative Remedies, Grie-
vance Complaint» l.G.R.C. And Appeals to the Superintendent and Commis~.
sioner/I.G. lnspector General Office, Albany, New York. 12226-2050, and
in -addition Plaintifffs has talked with his Mental Health Counselor -
and Social Worker Mr. Koston, and the Unit Chief Clinical Coordinator
Ms. Lisson, Who had also written complaints about Defendant: Officer
C.O, Pearson,$ee Attached Exhibits-A-B-C-D.

26). That by the foregoing reason above, Plaintiff's will sue the
defendant: C.O, Pearson, in the mount of Five Million Dollars Compensa~
tory Damages and to Compensate the Plaintiff Carlton, for his serious
injuries to his left eye, and broker nose, pain, harm, suffering and as

well as as for Punitive Damages, in the amount of $100,000,00 Thousand

Dollars for the mental anguish he suffered.

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PAGE NINE

WHEREFORE, Plaintiff's respectfully pray his relief is granted.
And Further more as the Court deem just and proper.

Dated: duly l@, 2016
Sullivan Correctional Facility

P.O. Box~116
Fallsburg, N.Y. 12733~0116
CC:

l declear under penalty of perjury that the foregoing is true

and correct:

   

 

 

CoRZ/n/E)N CARLTON, _2-A-1363

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Grievance No. ' Dale Filsd
sTArE ol= NEw Yoni< #WDE_39064_14 4/8/14
DEPAaTMENT or= paci;ity Policy Desig'nation
l COHRECT'ONS AND Wendeu Institutional
` COMMUN|TY SUPERVIS|ON Tit|e of Grievance _u Class Code
Assaulted in Cell #49 ~
lNNlATE GRlE\/ANCE PROGRAN| SU erimendem.$:pét;ep w Date / /
i, ' .//“/‘M? é k l L '
suPEnlNTENDENT u M \@ y _ / ‘! y / / s
Griev'ant (:;/ Dtiq HousingUnit
cARLToN, c. 12A1363 MH-z-cos

 

 

This grievance has been investigated by a Sergeant and includes interviews with the grievant and his witness
land a written response from the officer named in the complaint

During the interview, the grievant stated that he had nothing further to add to his written grievance The
grievant’s witness stated he was not locked in the cell during the fight

The foicer states that the fight happened when the commissary was let out, he denied locking the inmates in the
cell to fight

The Sergeant states that he finds no merit to this grievance He believes the inmate is»using insidious means to
benefit financially from the state.

T'ne evidence provided to this Reviewer does not substantiate a grievance of harassment against staff

® ii..

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y APPEAL STATEl\/lENT

 

If you wish to refer the above decision of the Superintendenl, please sign below and return this copy 10 your Inrnate Griev'ance Clerk. You

have Seven (7) working days from`receipt of this notice to file your appeal Please State why you are appealing this decision to C.O.R.Cr

 

 

 

 

 

Grievant’s Signature - Date

 

 

Grieva_nce C|erk's Signature Date

FORl\/l 2133 (RE\/. 6/06)

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STATE oF NEW YoRK
DEPARTMENT or coRRECTIoNA`L SERVICES
TO= §»M`! ita §§ f a at a ira iii /ir ii as <f`»- air
FRoM: rGRC
I)ATE: id l § j fry n
RE: HARASSMENT GRIEVANCE - WDE-

YGUR GRIEVANCE WAS RECEIVED AND SENT I)IRECTLY TO THE SUPT. THEREFORE, YOU
WILL NOT RECEIVE AN IGRC HEARING ON THIS MATTER.
THE SUPT. HAS 25 DAYS TO RESPOND.

 

 

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"§i’ u

 

Correctional Facility

 

 

            

 

 

       

 

 

   

i. NAME or iNr\/lATE lLasi, Fiisn 0 NoMBaE DEL REcLuso (Aperridi>, Nombie) No, § Nulvi, Housir\lc LocATloN 0 cnqu
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REPOR;}DATE . FECHA REPORTED BY . N>_OMBRE DE LA PERSONA OUE HACE El_ lNFOFll\/lE v ,
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i‘ ,i"i” ,‘ fit iii f / iii iii ~ ~ w ~ t ij ii ii wit
5. ENDORSEMENTS OF OTHER EMPLOYEE Y\/ll ESSES (if any) SlGNATURES: v
ENDOSOS DE OTROS EMPLEADOS TEST|GOS iSi hayl FlR|\/l/~\S 1
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NOTE: Fold back Page 2 on dotted line before completing below.

DATE AND Tlfv'rE SERVED UPON lNl\/iATE 1 y NA|§/l§ AND TiTl_E O,F SER\/ERv
FECHA \( HORA DADO AL RECLUSO NOl\/liBFiE Y `l`ll`ULO DEl_ OUE ENTREGA

 

 

Yod"are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a
criminal proceeding Por este~medio se le informa que no se puede usar ninguna declaracic')n hecha por usted come respuesta al cargo o la informacion

derivada de ella en una demands criminal
NOT|CE .\.AV|SO

RE\/lEWlNG OFFlCER (GETACH BELOW STATEMENT FGR \/lOluATlON HEAR!NG ONLYl

You are hereby notified that the above report is a formal charge and vvill be considered and determined at a hearing to be he|d.
Por este medio se le notifica que el informs anterior es un cargo formal el cua| se considerara y determinara en una audiencia a celebrarse.

The inmate shall be permitted to call vvitnesses provided that so doing does not jeopardize institutional safety or correctional goa|s.
Se le permitira al recluso llamar testigos con tal de que al hacer|o no pondra en pe|igro la seguridad de la institucion o los ob]etivos del Departamento,

lt restricted pending a hearing for this misbehavior report, you may vvrite to the Deputy Superintendent;y for,Security-or his/her designee prior to the
hearing to make a statement on the need for continued prehearing confinement ' _ "

Si esta restringido pendiente a una audiencia por este informe de mal comportamiento, puede escribir|'e al Diputado_d~el' Su`perintendente para Seguridao`
o su respresentante antes de la audiencia para que haga una declaracio'n acerca dela necesidad de continuar ban confinamie`nto, previo ala audiencia.
tDist;4 {" VVHV|`:TVE, ,_»;_Disciplinary Officeu CAN)ARY `- lnmate (After revieuvy) ' k

       

     

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STATE OF NEW YORK
DEPARTMENT OF CORRBCTIONAL SERVICES
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE
ALBANY, N.Y. 12226-205()

 

BRIAN FISCHER
comssonER

MEMORANDUM

FROM: Karen Bellamy, Director, lnmate Grievance Program

SUBJ: Receipt of Appeal

Wende Correctional Facility

Your grievance WDE-39064-14 entitled
Assaulted ln Celi

Was rec'd by CORC on 4/23/2014

CCARLTON 12A1363 7/9/2014 wj/`/¢M/

 

A disposition will be sent to you after the grievance is reviewed by CORC

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